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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


     DIVERSIFIED LENDERS, LLC,

                    Plaintiff,

     v.                                                       Case No. 8:17-mc-37-T-36AEP

     AMAZON LOGISTICS, INC., et al.,

                    Defendants.
                                                   /


                                 REPORT AND RECOMMENDATION

            Plaintiff Diversified Lenders, LLC (“Diversified”) initiated this action by filing a

     motion seeking an order directing Defendant Vertical Holdings Unlimited, LLC d/b/a VHU

     Express (“VHU”) to show cause why it should not be held in civil contempt of court for

     complying with a subpoena, to compel production of documents in response to a subpoena, and

     to request sanctions (“Motion to Show Cause”) (Doc. 1). According to Diversified, the

     underlying action involves collection of outstanding and unpaid accounts totaling more than

     $1.7 million owed to Diversified by Defendant Amazon Logistics, Inc. (“Amazon”) for

     transportation and delivery services provided by VHU to Amazon, with the right to receive

     payment assigned by VHU to Diversified.           Diversified asserts that Amazon defended

     Diversified’s claims by, among other things, alleging that it paid Diversified all monies due and

     owing to VHU and that it may offset monies due to Diversified that Amazon paid to VHU’s

     employees for unpaid wages. To assist in gathering facts to prosecute its claims against

     Amazon and to refute Amazon’s defenses, Diversified issued a subpoena to VHU on March 1,

     2017 (“VHU Subpoena”) (Doc. 1, Ex. 1). Diversified contends that it initially served the VHU

     Subpoena upon VHU’s Chief Operating Officer, Christopher Stroud, and subsequently served
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     a copy upon VHU’s Registered Agent and Managing Member, Lisa Bythewood (“Ms.

     Bythewood”), along with a subpoena for her personal appearance at a deposition. The VHU

     Subpoena provided that VHU was to produce documents and appear for a deposition.

     According to Diversified, VHU failed to produce any documents by the deadline set forth in

     the subpoena, did not request an extension of time to respond to the subpoena, and did not file

     or serve any objection to the subpoena.

            Following VHU’s non-compliance with the deadlines set forth in the VHU Subpoena,

     Diversified contacted Ms. Bythewood via e-mail in an effort to obtain the documents from VHU

     (see Doc. 1, Ex. 2). In response, Ms. Bythewood responded that Diversified had received all

     documents when Diversified conducted an audit of VHU and that any responsive documents

     were located in a storage unit, which she did not have access to because of non-payment.

     Diversified states that Ms. Bythewood subsequently forwarded Diversified’s counsel three

     single-page e-mails from her Gmail account, with a total of ten PDF documents attached

     containing one to three-page documents relating to only six of the invoices issued by Amazon

     to VHU, even though Diversified estimates that the total number of invoices exceeds one

     hundred in total. Upon questioning from Diversified’s counsel as to the production made, Ms.

     Bythewood indicated that she sent everything electronically with her e-mail.        No further

     production was made.

            By the Motion to Show Cause, Diversified requested that the Court issue an order for

     VHU, through its managing members, Ms. Bythewood and Craig Bythewood (“Mr.

     Bythewood”) (collectively, “the Bythewoods”), to show cause why VHU should not be held in

     contempt for failing to comply with the subpoena issued by Diversified, order that VHU could

     purge itself of contempt by producing the requested documents, and award Plaintiff its fees and

     costs in bringing the action (Doc. 1). Upon consideration, the undersigned entered an Order



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     scheduling a hearing on the motion (Doc. 3) and subsequently conducted the hearing on the

     motion, at which VHU failed to appear, despite receiving notice of the hearing. After hearing

     oral argument on the motion, the undersigned issued an Order (Doc. 16), on April 20, 2017,

     directing that VHU produce all records responsive to the outstanding subpoenas within 20 days

     of the Order. The undersigned also scheduled a show cause hearing at which VHU was

     commanded to appear to show cause as to why contempt proceedings should not proceed

     against it and its managing members for failure to respond to Diversified’s subpoena. The

     Order additionally stated that, if VHU complied with Diversified’s subpoena prior to the show

     cause hearing, and Diversified notified the Court of the same, the undersigned would cancel the

     hearing and the civil contempt proceedings would not commence. If, however, VHU failed to

     appear at the hearing, the undersigned would commence the civil contempt process, which

     could include the imposition of fines and/or incarceration.

            Subsequently, on May 17, 2017, the undersigned conducted the show cause hearing, at

     which VHU again failed to appear. During the hearing, Diversified informed the Court that

     discovery was still outstanding and that VHU’s managing members would not respond to

     communications from counsel.       As a result, the undersigned entered an Order (Doc. 24)

     directing Diversified to file its motion for contempt within fourteen days of the issuance of the

     Order. As directed, Diversified filed its Motion to Institute Contempt Proceedings against VHU

     and its managing members, the Bythewoods (Doc. 28). By the instant motion, Diversified

     requests that, given VHU’s failure to comply with the subpoena or the Court’s Orders, the Court

     should find VHU and the Bythewoods in civil contempt and institute contempt proceedings,

     including the incarceration of the Bythewoods, and also impose sanctions.




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            I.      Discussion

                    A.      Contempt

            Where a party or a party’s officer, director, or managing agent fails to obey an order to

     provide or permit discovery, the court where the action is pending may issue further just orders,

     including treating as contempt of court the failure to obey an order.           Fed. R. Civ. P.

     37(b)(2)(A)(vii).   Civil contempt, as opposed to criminal contempt, provides courts with a

     sanction to enforce compliance with an order of the court or to compensate a complainant for

     losses or damages sustained by reason of noncompliance. McComb v. Jacksonville Paper Co.,

     336 U.S. 187, 191 (1949) (citations omitted); cf. Mercer v. Mitchell, 908 F.2d 763, 768 (11th

     Cir. 1990) (“Every civil contempt proceeding is brought to enforce a court order that requires

     the defendant to act in some defined manner. The defendant then allegedly acts, or refuses to

     act, in violation of the order. The plaintiff would like the defendant to obey the court order and

     requests the court to order the defendant to show cause why he should not be held in contempt

     and sanctioned until he complies.”). Indeed, courts unquestionably maintain inherent power to

     enforce compliance with their lawful orders through civil contempt. See Shillitani v. United

     States, 384 U.S. 364, 370 (1966) (“There can be no question that courts have inherent power to

     enforce compliance with their lawful orders through civil contempt.”); Citronelle-Mobile

     Gathering, Inc. v. Watkins, 943 F.2d 1297, 1301 (11th Cir. 1991) (“Courts have inherent power

     to enforce compliance with their lawful orders through civil contempt.”). The underlying

     concern giving rise to this contempt power is not merely the disruption of court proceedings

     but rather the disobedience to orders of the judiciary and abuse of the judicial process. See

     Chambers v. NASCO, 501 U.S. 32, 44 (1991) (citation omitted). Accordingly, civil contempt

     sanctions are penalties designed to compel future compliance with a court order and are thus

     considered to be coercive and avoidable through obedience, so such sanctions may be imposed



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     in an ordinary civil proceeding upon notice and an opportunity to be heard. Int’l Union, United

     Mine Workers of Am. v. Bagwell, 512 U.S. 821, 827 (1994); cf. United States v. Roberts, 858

     F.2d 698, 700 (11th Cir. 1988) (“If the contempt order was designed to exert pressure on the

     recalcitrant party, a device to compel compliance with an earlier court decree, then the

     proceeding was civil.”) (citation omitted).

            A party seeking civil contempt must establish by clear and convincing evidence that the

     purported contemnor violated the court’s prior order. Roberts, 858 F.2d at 700 (citation

     omitted); cf. Riccard v. Prudential Ins. Co., 307 F.3d 1277, 1296 (11th Cir. 2002) (“A finding

     of civil contempt—willful disregard of the authority of the court—must be supported by clear

     and convincing evidence.”). Namely, a finding of civil contempt must be supported by clear

     and convincing evidence demonstrating that: (1) the allegedly violated order was valid and

     lawful; (2) the order was clear and unambiguous; and (3) the alleged violator had the ability to

     comply with the order. See F.T.C. v. Leshin, 618 F.3d 1221, 1232 (11th Cir. 2010) (citation

     omitted); Riccard, 307 F.3d at 1296. Once the party seeking contempt makes this prima facie

     showing, the burden shifts to the alleged contemnor to produce detailed evidence specifically

     explaining why he or she cannot comply, which requires more than a mere assertion of inability

     to comply. Roberts, 858 F.2d at 701; see Leshin, 618 F.3d at 1232. Further, the absence of

     willfulness is not a defense to a charge of civil contempt, nor are substantial, diligent, or good

     faith efforts enough – the only issue is compliance. Leshin, 618 F.3d at 1232 (citations omitted).

            In this instance, Diversified asks the Court to hold VHU and its corporate officers in

     contempt for failing to comply with the subpoena and the Court’s Orders. Upon consideration

     of the refusal of a corporate officer to provide documents in response to a subpoena issued to a

     corporation, the Supreme Court stated:

            A command to the corporation is in effect a command to those who are officially
            responsible for the conduct of its affairs. If they, apprised of the writ directed to


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            the corporation, prevent compliance or fail to take appropriate action within their
            power for the performance of the corporate duty, they, no less than the
            corporation itself, are guilty of disobedience, and may be punished for contempt.
            … “‘As the corporation can only act through its agents, the courts will operate
            upon the agents through the corporation. When a copy of the writ which has
            been ordered is served upon the clerk of the board, it will be served on the
            corporation, and be equivalent to a command that the persons who may be
            members of the board shall do what is required. If the members fail to obey,
            those guilty of disobedience may, if necessary, be punished for contempt.
            Although the command is in form to the board, it may be enforced against those
            through whom alone it can be obeyed.’”

     Wilson v. U.S., 221 U.S. 361, 376-77 (1911) (quoting Leavenworth Cty. v. Sellew, 99 U.S. 624,

     627 (1878)). Indeed, courts have held a corporate entity and its corporate officer(s) in contempt

     for failing to comply with orders of a court. See Leshin, 618 F.3d at 1236 (finding that a district

     court did not abuse its discretion by holding corporate officers in contempt for disobeying and

     violating a known injunctive order); see Connolly v. J.T. Ventures, 851 F.2d 930, 934-35 (7th

     Cir. 1988) (affirming a district court’s decision to hold in contempt, and therefore finding joint

     and several liability with the corporation, the president and vice president of a corporate entity,

     as officers of the corporation charged with ensuring the corporation’s compliance with a

     settlement agreement, for violating the terms of a settlement agreement); Air Am., Inc. v. Hatton

     Bros., Inc., 570 F. Supp. 747, 749-50 (S.D. Fla. 1983) (concluding that a corporation and its

     president be held in civil contempt for failing to comply with a final judgment requiring the

     corporation to turn over possession of an aircraft and ordering the incarceration of the

     corporation’s president until compliance, as well as awarding the plaintiff sanctions for its

     expenses incurred in prosecuting the contempt proceeding to obtain compliance).                 As

     Diversified explains, public records indicate that the Bythewoods are the Managing Members

     of VHU, with Ms. Bythewood identified as its registered agent (Doc. 28, Ex. A). Further, Ms.

     Bythewood previously provided testimony indicating that she served as the Chief Executive

     Officer for VHU and that Mr. Bythewood served as the Chief Financial Officer for VHU (Doc.



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     28, Ex. B). Additionally, Ms Bythewood indicated that responsive documents are located on

     her personal laptop and in a storage unit owned by her; all documents produced on behalf of

     VHU and agreements to produce documents on behalf of VHU were provided by Ms.

     Bythewood; and both Ms. Bythewood and Mr. Bythewood have accepted service on behalf of

     VHU in this action (Doc. 28, Exs. C-F). As such, both Ms. Bythewood and Mr. Bythewood

     have acted on behalf of VHU and maintain authority to comply or prevent compliance with the

     subpoena issued by Diversified and the Orders issued by the Court.         In this action, the

     Bythewoods prevented compliance or failed to take appropriate action within their power for

     the performance of the corporate duty, and thus are guilty of disobedience, so may be punished

     for contempt. Wilson, 221 U.S. at 376-77. Given the non-compliance of VHU and, in turn, the

     Bythewoods, as VHU’s corporate officers, with the subpoena and the Court’s Orders, both

     VHU and the Bythewoods should be held in contempt.

            Indeed, as detailed above, clear and convincing evidence establishes that the Court’s

     Orders were valid, lawful, and clear and unambiguous and that VHU and the Bythewoods could

     comply with the Orders simply by producing the outstanding discovery or could appear before

     the Court to demonstrate cause as to why they could not comply.        Neither VHU nor the

     Bythewoods complied with the Court’s Orders, or the original subpoena, or appeared for

     hearings to explain to the Court the basis for their noncompliance.         Accordingly, the

     undersigned recommends that the Court provide VHU and the Bythewoods one final

     opportunity to comply with the subpoena and the Court’s Orders. If VHU and the Bythewoods

     fail to comply, the undersigned recommends that the Court hold VHU, Ms. Bythewood, and

     Mr. Bythewood in civil contempt until such time as VHU and the Bythewoods comply with

     this Court’s Orders by providing the discovery requested by the subpoena. Specifically, the

     undersigned recommends that the Court incarcerate Ms. Bythewood and Mr. Bythewood until



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     such time as they provide discovery responses to Diversified, and therefore comply with the

     Court’s Orders and subpoena.

                    B.      Sanctions

            Diversified also seeks an award of sanctions against VHU and the Bythewoods in the

     amount of $6,848.00, which represents $6,410.00 in attorney’s fees; $342.00 in paralegal’s fees;

     and $96.00 in costs incurred in this action (Doc. 28, Ex. F). As Diversified contends, VHU and

     the Bythewoods failed to properly respond to Diversified’s request for discovery, thereby

     necessitating the initiation of this action and the filing of the Motion to Show Cause.

     Subsequently, VHU and the Bythewoods failed to comply with the Court’s Order setting a

     hearing on the Motion to Show Cause (Doc. 3) or the Court’s Order directing that all records

     responsive to discovery be produced (Doc. 16). Likewise, neither VHU nor the Bythewoods

     appeared for either hearing scheduled in this matter.

            Pursuant to Rule 37, Federal Rules of Civil Procedure, if a motion to compel disclosure

     or discovery response “is granted—or if the disclosure or requested discovery is provided after

     the motion was filed—the court must, after giving an opportunity to be heard, require the party

     or deponent whose conduct necessitated the motion … to pay the movant’s reasonable expenses

     incurred in making the motion, including attorney’s fees,” unless the movant filed the motion

     before attempting in good faith to obtain the disclosure or discovery without court action; the

     opposing party’s nondisclosure, response, or objection was substantially justified; or other

     circumstances make an award of expenses unjust. Fed. R. Civ. P. 37(a)(5)(A). Furthermore,

     where a party or a party’s officer, director, or managing agent fails to obey an order to provide

     or permit discovery, the court where the action is pending may issue further just orders,

     including treating as contempt of court the failure to obey an order, and must order the

     disobedient party to pay the reasonable expenses, including attorney’s fees, caused by the



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     failure, unless the failure was substantially justified or other circumstances make an award of

     expenses unjust. Fed. R. Civ. P. 37(b)(2)(A)(vii) & (C). Rule 37 thus provides courts with

     broad discretion to fashion appropriate sanctions for violation of discovery orders. Malautea

     v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1542 (11th Cir. 1993). In determining the appropriate

     sanctions, courts must diligently apply Rule 37 sanctions both “‘to penalize those whose

     conduct may be deemed to warrant such a sanction, [and] to deter those who might be tempted

     to such conduct in the absence of such a deterrent.’” Roadway Exp., Inc. v. Piper, 447 U.S.

     752, 763-64 (1980) (quoting Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639,

     643 (1976)).

            In this instance, given the failure of VHU and the Bythewoods to properly provide

     discovery to Diversified and to comply with the Court’s Orders in this action, an award of

     attorney’s fees and costs in the amount of $6,848.00 in favor of Diversified and against VHU

     and the Bythewoods as sanctions is warranted. Indeed, upon review, the fees requests and costs

     incurred are reasonable. See Norman v. Housing Auth. of Montgomery, 836 F.2d 1292, 1303-

     04 (11th Cir. 1988) (indicating that a court may make a fee award based on its own experience).

     Namely, Diversified seeks attorney’s fees in the amount of $6,410.00 for 18 hours of attorney

     time at a rate of $325.00 per hour and 1.6 hours of attorney time at a rate of $350.00 per hour.

     See Grigoli v. Scott Cochrane Inc., No. 8:14-cv-844-T-23EAJ, 2015 WL 4529032, at *6-8

     (M.D. Fla. July 27, 2015) (awarding hourly rates ranging from $150.00 to $350.00 for sanctions

     awarded pursuant to the court’s inherent power in a civil action). Additionally, Diversified

     seeks $342.00 in fees for 3.8 hours of work performed by a paralegal at a rate of $90.00 per

     hour. See Butdorf v. SC Maintenance, Inc., CASE No. 8:15-CV-916-T-23TGW, 2015 WL

     9694516, at *2 (M.D. Fla. Dec. 7, 2015), report and recommendation adopted, CASE No. 8:15-

     CV-916-T-23TGW, 2016 WL 112372 (M.D. Fla. Jan. 11, 2016) (determining an hourly rate of



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      $95.00 is a customary rate for paralegal services); Knight v. Paul & Ron Enter., Inc., No. 8:13-

      cv-310-T-36EAJ, 2015 WL 2401504, at *4 (M.D. Fla. May 19, 2015) (awarding an hourly rate

      of $105.00 for a paralegal with more than ten years of experience).              Based upon the

      undersigned’s experience, both the fees requested and the hours expended are reasonable. As

      such, Diversified should be awarded fees in the amount of $6,752.00.

                Diversified also seeks incurred costs in the amount of $96.00, which includes the $47.00

      miscellaneous action filing fee and the $49.00 server fee for service of the Court’s April 20,

      2017 Order (Doc. 16). Both the filing fee and the fee for a private process server are taxable as

      costs. 28 U.S.C. § 1920(1) (permitting taxation of the fees of the clerk and marshal as costs);

      see U.S. E.E.O.C. v. W&O, Inc., 213 F.3d 600, 624 (11th Cir. 2000) (holding that private

      process server fees may be taxed pursuant to 28 U.S.C. § 1920(1) so long as such fees do not

      exceed the statutory fees authorized in 28 U.S.C. § 1921); 2 see Family Oriented Cmty. United

      Strong, Inc. v. Lockheed Martin Corp., No. 8:11-cv-217-T-30AEP, 2012 WL 6575348, at *1

      (M.D. Fla. Dec. 17, 2012) (finding that “[f]ees of the clerk and marshal include filing fees and

      are clearly taxable”). Accordingly, Diversified should be awarded costs in the amount of

      $96.00.

                II.    Conclusion

                For the foregoing reasons, it is hereby

                RECOMMENDED:




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                Under 28 U.S.C. § 1921, the United States marshals may tax as costs fees for service
      of a summons or complaint. 28 U.S.C. § 1921(a)(1)(A). The fee for process served or
      executed personally is $65.00 per hour. 28 C.F.R. § 0.114(a)(3). The fee for service of
      process requested by Diversified in the amount of $47.00 is thus reasonable as it does not
      exceed the authorized statutory fees.


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             1.   Diversified Lenders, LLC’s Motion to Institute Contempt Proceedings against

      Vertical Holdings Unlimited, LLC and its Managing Members Lisa Bythewood and Craig

      Bythewood (Doc. 28) be GRANTED.

             2. Vertical Holdings Unlimited, LLC be given thirty days from the date of the district

      judge’s Order on the Motion to Institute Contempt Proceedings against Vertical Holdings

      Unlimited, LLC, and its Managing Members Lisa Bythewood and Craig Bythewood to provide

      responses to the outstanding discovery. If Vertical Holdings Unlimited, LLC fails to provide

      the outstanding discovery responses within the thirty-day period, and Plaintiff files a notice

      indicating such noncompliance at the expiration of that time period, the district judge hold

      Vertical Holdings Unlimited, LLC, in contempt and hold Lisa Bythewood and Craig

      Bythewood in contempt by incarcerating both of them until such time as they provide discovery

      responses to Diversified Lenders, LLC, and therefore comply with the Court’s Orders. If,

      however, Vertical Holdings Unlimited, LLC, complies within the applicable time period,

      Plaintiff be directed to file a notice of compliance as expeditiously as possible and no contempt

      sanctions be issued against Vertical Holdings Unlimited, LLC, or the Bythewoods.

             3. Diversified Lenders, LLC, be awarded attorney’s fees in the amount of $6,752.00

      and costs in the amount of $96.00. Within thirty days of the district judge’s order on the Motion

      to Institute Contempt Proceedings against Vertical Holdings Unlimited, LLC and its Managing

      Members Lisa Bythewood and Craig Bythewood (Doc. 28), Vertical Holdings Unlimited, LLC

      and the Bythewoods be directed to pay fees and costs to Diversified Lenders, LLC in the amount

      of $6,848.00.

             4. Within five days of the date of this Order, the U.S. Marshal is directed to serve a

      copy of this Report and Recommendation upon Vertical Holdings Unlimited, LLC, at the

      following address, identified as the address for the registered agent (see Doc. 28, Ex. A):



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                1208 Facet View Way
                Valrico, Florida 33594

      The U.S. Marshal is directed to serve two copies of this Report and Recommendation – one for

      Lisa Bythewood and one for Craig Bythewood – at the following address, previously identified

      by Lisa Bythewood as her home address where she could be served (see Doc. 28, Ex. E):

                10511 Martinique Isle Drive
                Tampa, Florida 33647

      The U.S. Marshal shall then file a Notice of Service as expeditiously as possible thereafter.

                IT IS SO CERTIFIED and REPORTED in Tampa, Florida, on this 4th day of December,

      2017.




                                          NOTICE TO PARTIES

                A party has fourteen days from this date to file written objections to the Report and

      Recommendation’s factual findings and legal conclusions.       A party’s failure to file written

      objections waives that party’s right to challenge on appeal any unobjected-to factual finding or

      legal conclusion the district judge adopts from the Report and Recommendation. See 11th Cir.

      R. 3-1.



      cc:       Hon. Charlene E. Honeywell
                Counsel of Record



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